     Case 2:20-cv-00704-RFB-EJY Document 24 Filed 01/11/21 Page 1 of 4



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8
                                    UNITED STATES DISTRICT COURT
9                                    FOR THE DISTRICT OF NEVADA
10

11     STATE FARM MUTUAL AUTOMOBILE                             CASE NO.:   2:20-cv-00704-RFB-EJY
       INSURANCE COMPANY,
12
                       Plaintiff,
13

14     vs.

15     JOSE VALDEZ; TODD SLOAN; DOES I
       through X; inclusive,
16

17                     Defendants.

18
                      STIPULATION AND ORDER TO EXTEND DISCOVERY
19                                   (1ST REQUEST)
20
             Pursuant to LR IA 6-1 and LR 26-4 the parties by and through their undersigned counsel,
21
     hereby stipulate and request that this Court extend the Discovery Deadlines in the above-
22
     captioned case for one hundred eighty (180) days. In support of this Stipulation and request, the
23
     parties state as follows:
24
     A.      DISCOVERY COMPLETED TO DATE:
25
             1.      Initial FRCP 26 Disclosures by Plaintiff and Defendant Todd Sloan
26

27
             2.      Deposition of Teresa Valdez

28           3.      Deposition of Brian Strain



                                         2:20-cv-00704-RFB-EJY
                                                  Page 1 of 4
     Case 2:20-cv-00704-RFB-EJY Document 24 Filed 01/11/21 Page 2 of 4



1    B.     DISCOVERY REMAINING TO BE COMPLETED:
2           Initial FRCP 26 disclosures by the Estate of Jose Valdez. Supplemental disclosures,
3    written discovery, depositions, and expert witness disclosures by all parties.
4
     C.     REASON FOR REQUEST OF EXTENSION OF DISCOVERY DEADLINES:
5
            The parties request this Court to extend the discovery deadlines by 180 days based
6
     primarily on the ongoing COVID-19 issue which has resulted in Special Administrative Orders
7
     to toll and extend scheduling and responsive pleading deadlines which has impacted virtually all
8
     pending cases. The parties foresee that the COVID-19 issue has and will continue to cause delay
9
     in conducting formal discovery in all cases such that the parties believe they will need additional
10
     time in order to complete the discovery in this matter. Defense counsel’s staff is all working
11
     remotely with limited staff and all parties may experience delays in obtaining medical records
12
     and hiring experts. Additionally, the parties anticipate difficulty scheduling depositions while
13

14
     social distancing and quarantine orders are in place, particularly for treating physicians and

15   expert witnesses. As of the time of filing this Stipulation, the parties do not know how long the

16   coronavirus safety measures will remain in effect.

17            This case involves insurance coverage dispute which may require the retention of

18   various expert witnesses. Potential delays in retaining experts and obtaining records will make
19
     it difficult for the parties to complete discovery within the standard 180 day period. Given that
20
     the coronavirus measures are not expected to expire any time soon, the parties expect to
21

22
     experience a delay in completing same.

23          Furthermore, Plaintiff has requested (and was granted) an extension of time to serve their
24   Complaint upon the decedent, however, the estate is not yet set up. It is believed that the Petition
25
     to appoint an administrator of the estate was on the approved probate calendar on January 8,
26
     2021. Once an administrator is appointed and the Complaint is served upon the Estate, said
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                                         2:20-cv-00704-RFB-EJY
                                                 Page 2 of 4
     Case 2:20-cv-00704-RFB-EJY Document 24 Filed 01/11/21 Page 3 of 4



1    Defendant will need additional time to complete discovery as well. Accordingly, the parties
2
     respectfully request that the Court extend the discovery schedule requested herein.
3
     D.     PROPOSED SCHEDULE FOR COMPLETING DISCOVERY:
4
            All discovery deadlines shall be extended as follows:
5

6           1.      Discovery in this action shall be completed on or before: Monday, October 11,

7                   2021.
8           2.      Amendments to pleadings and addition of parties required on or before: Tuesday,
9                   July 13, 2021.
10          3.      Federal Rule of Civil Procedure 26(f) Disclosures (Experts) required on or before:
11                  Thursday, August 12, 2021.
12
            4.      Disclosure regarding rebuttal experts required on or before: Monday, September
13
                    13, 2021.
14
            5.      Dispositive Motions required on or before: Wednesday, November 10, 2021.
15
            6.      Pretrial Order required on or before: Friday, December 10, 2021.
16

17
      DATED this 12th day of January, 2021.            DATED this 12th day of January, 2021.
18

19
      ROGERS, MASTRANGELO, CARVALHO                    GREENMAN GOLDBERG RABY &
      & MITCHELL                                       MARTINEZ
20
      /s/ Charles Michalek                         .   /s/ William Martin                          .
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     ///
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                                        2:20-cv-00704-RFB-EJY
                                                Page 3 of 4
     Case 2:20-cv-00704-RFB-EJY Document 24 Filed 01/11/21 Page 4 of 4



1                                                 ORDER
2
     DATED: January 11, 2021
3

4           IT IS SO ORDERED.
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                                                      _______________________________________
6                                                     UNITED STATES MAGISTRATE JUDGE

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     Respectfully submitted by:
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14   ROGERS, MASTRANGELO, CARVALHO
     & MITCHELL
15
     /s/ Charles Michalek                  .
16
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                                       2:20-cv-00704-RFB-EJY
                                                  Page 4 of 4
